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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND




KILMAR ARMANDO ABREGO
GARCIA, et al.


Petitioner,
                                                       Civil Action No. 8:25-cv-00951-PX
v.
KRISTI NOEM, Secretary of the
                                                       Declaration Of Michael G. Kozak
Department of Homeland Security, et al.,


Respondents.


                         DECLARATION OF MICHAEL G. KOZAK


I, Michael G. Kozak, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.       Please refer to my prior declaration for information about my position and the

foundation of my knowledge of the relevant facts, Abrego García v. Noem, No. 8:25-cv-00951-PX

(D. Md. Apr. 13, 2025), ¶¶ 1-2.

       2.       On April 20 and 21, our Ambassador requested an update from the Salvadoran

government regarding the physical location and custodial status of Mr. Abrego García. The

Salvadoran government responded on April 21 that Mr. Abrego García is being held at the Centro

Industrial penitentiary facility in Santa Ana, “in good conditions and in an excellent state of

health.”



I declare under penalty of perjury that the foregoing is true and correct.
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Executed this 21st day of April 2025.




                                            Michael G. Kozak
                                            Senior Bureau Official
                                            Bureau of Western Hemisphere Affairs
                                            U.S. Department of State
